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                             FOR THE F OURTH C IRCUIT


                                         No. 24-4201


                            U NITED S TATES OF A MERICA ,
                                      Plaintiff-Appellant,
                                               v.

                                K EITH R ODNEY M OORE ,
                                     Defendant-Appellee.


                          Appeal from the United States District Court
                              for the Eastern District of Virginia
                                         at Richmond
                         The Honorable John A. Gibney, District Judge


                              C ORRECTED J OINT A PPENDIX
                           V OLUME VI OF VI (D IGITAL M EDIA )


         Geremy C. Kamens                       Jessica D. Aber
         Federal Public Defender                United States Attorney
         Patrick L. Bryant                      Jacqueline R. Bechara
         Assistant Federal Public Defender      Assistant United States Attorney
         1650 King Street, Suite 500            2100 Jamieson Avenue
         Alexandria, Virginia 22314             Alexandria, Virginia 22314
         (703) 600-0800                         (703) 299-3700

         Counsel for Keith Moore (continued)    Counsel for the United States (continued)
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          Amy L. Austin                         Shea M. Gibbons
          Laura J. Koenig                       Erik S. Siebert
          Assistant Federal Public Defenders    Assistant United States Attorneys
          701 East Broad Street                 919 East Main Street
          Suite 3600                            Suite 1900
          Richmond, Virginia 23219              Richmond, Virginia 23219
          (804) 565-0880                        (804) 819-5400

          Additional Counsel for Keith Moore    Additional Counsel for the United States
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